
Smith, J.
Heard on error to the common pleas, in which the controversy was regarding the warranty of a horse which was sold to Judge Pruden by its owner at plaintiff in error’s stable as a safe, sound and quiet animal, a family horse suitable to be driven by a lady. But be proved to be a hip-shot and a runaway, as Pruden found afterward with disastrous results to his carriage. The receipt for the money paid for the animal was signed by the plaintiff in error, and contained the words, “Warranted sound and safe property’ ’ The trial judge refused to adroit testimony tending to show that in the Fifth street horse market this warranty has from long custom come to be understood to refer to the title to the animal exclusively, and not to his qualities.
The reviewing court sustains the judge below in holding that the word “sound” is a common word, the meaning of which is plain and ought not to be varied as it was sought to do in this-writing. But as to the words “safe property,” is of the opinion that the case was different,and testimony might be admissible to show that these words were used in this writing in a technical sense; and as the jury may have rendered the verdict they did on the theory that the warranty was that the horse was a safe animal to drive, and for other reasons, the case should'be retried.
